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FEB 21 2024

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S DISTRICT COUR}
ISTRICT OF ARIZONA

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

-24-00313-PHX-MTL (JZB)

United States of America, No. CR-24

Plaintiff,

VS. INDICTMENT
Brian Jerry Ogstad, VIO: 180U.S.C. § 875(c)
iantenlale Threat)

Defendant. ounts 1 - 5

THE GRAND JURY CHARGES:

BACKGROUND ALLEGATIONS

At all relevant times:

1. Defendant BRIAN JERRY OGSTAD (OGSTAD) lived in or around

Cullman, Alabama.

2. Maricopa County Elections is headquartered in Phoenix, Arizona.

3. Maricopa County-Elections administers city, town, school district, special

district, state, and federal elections in Maricopa County, Arizona, in conjunction with the

Maricopa County Board of Supervisors and the Maricopa County Recorder’s Office.

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4, On or about August 2, 2022, Arizona held primary elections for federal and
state officeholders, including a gubernatorial primary election that received nationwide
media coverage.

5. On or about August 2, 2022, OGSTAD sent via direct messaging several
messages to an Instagram social media account maintained by Maricopa County Elections:

a. “A... you people are so fucked! You don’t think they were ready
for you!? You are all fucked!”
Dd. A graphic appearing to include a snapshot of a narrative referencing
alleged voter fraud in Maricopa County.
C. “You Fuckers are all going to jail.”
d. “They have every vote! You fuckers think you can cheat? Ha! Stupid
fuckers, do it! Hang yourself!”

6. On or about August 3, 2022, OGSTAD sent via direct messaging several
messages to an Instagram social media account maintained by Maricopa County Elections:

a. “You did it! Now you are fucked. Dead. You will all be executed
for your crimes.”
b. A graphic depicting primary election voting results for two candidates

for the 2022 Arizona gubernatorial race.

C. “A_. ~ bullshit... [Candidate-1] crushed [Candidate-2]. You fuckers
are now dead. (Arrest, tried, executed)”

d. “A... - Fuck you! You are caught! They have it all. You fuckers are
dead.”

e. A graphic appearing to be a snapshot of a narrative referencing alleged

voter fraud in Maricopa County in Arizona’s 2022 gubernatorial
primary race.

f. “You are lying, cheating mother fuckers... you better not come in my
church, my business or send your kids to my school. You are fucking

stupid if you think your lives are safe.”

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Indictment Page 2 of 6

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k.

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An image of the character “Woody,” from the Toy Story film

franchise, lying face down with an unidentified projectile in its back.

A screenshot of the DM is below.

A graphic appearing to be a snapshot of a post containing (1) images
from a social media account maintained by Maricopa Elections
regarding early, provisional election results for Arizona’s 2022
primary election, and (2) an image of a narrative referencing these
early election results as described in the post with a url link to the
above-referenced social media account maintained by Maricopa
County Elections.

“You fuckers are so dead.”

“Arrest, tried and executed... swiftly. Bang fuckers, Bang!”

A graphic appearing to depict primary election voting results for
Arizona governor.

“A.- -- you people are fucking stupid!”

7. On or about August 4, 2022, OGSTAD sent via direct messaging several

messages to an Instagram social media account maintained by Maricopa County Elections:

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a. “A_. -. you people are so ducking [sic] stupid. Everyone knows you
are lots [sic], cheats, frauds and in doing so in relation to elections
have committed treason. You will all be executed. Bang fuckers!”

b. A graphic appearing to include a snapshot of a narrative referencing
the injection of “fake votes” in several counties.

8. Through this course of conduct, OGSTAD committed the following

offenses:
COUNT 1
18 U.S.C. § 875(c)
(INTERSTATE THREAT)

On or about August 3, 2022, in the District of Arizona and elsewhere, the defendant
BRIAN JERRY OGSTAD, with the intent to communicate a true threat of violence and
with recklessness as to whether the communication would be viewed as a true threat of
violence, knowingly transmitted in interstate and foreign commerce a communication
containing a threat to injure and kill another person, to wit, any person who works at or is
associated with Maricopa County Elections, by stating the following in a message to
Maricopa County Elections on Instagram via direct messaging: “You did it! Now you are
fucked. Dead. You will all be executed for your crimes.”

In violation of Title 18, United States Code, Section 875(c).

COUNT 2
18 U.S.C. § 875(c)
(INTERSTATE THREAT)

On or about August 3, 2022, in the District of Arizona and elsewhere, the defendant
BRIAN JERRY OGSTAD, with the intent to communicate a true threat of violence and
with recklessness as to whether the communication would be viewed as a true threat of
violence, knowingly transmitted in interstate and foreign commerce a communication
containing a threat to injure and kill another person, to wit, any person who works at or is

associated with Maricopa County Elections, by stating the following in a message to

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Maricopa County Elections on Instagram via direct messaging: “Fuck you! You are
caught! They have it all. You fuckers are dead.”
In violation of Title 18, United States Code, Section 875(c).

COUNT 3
18 U.S.C. § 875(c)
(INTERSTATE THREAT)

On or about August 3, 2022, in the District of Arizona and elsewhere, the defendant
BRIAN JERRY OGSTAD, with the intent to communicate a true threat of violence and
with recklessness as to whether the communication would be viewed as a true threat of
violence, knowingly transmitted in interstate and foreign commerce a communication
containing a threat to injure and kill another person, to wit, any person who works at or is
associated with Maricopa County Elections, by stating the following in a message to
Maricopa County Elections on Instagram via direct messaging: “You are lying, cheating
mother fuckers... you better not come in my church, my business or send your kids to my
school. You are fucking stupid if you think your lives are safe.”

In violation of Title 18, United States Code, Section 875(c).

COUNT 4
18 U.S.C. § 875(c)
(INTERSTATE THREAT)

On or about August 3, 2022, in the District of Arizona and elsewhere, the defendant
BRIAN JERRY OGSTAD, with the intent to communicate a true threat of violence and
with recklessness as to whether the communication would be viewed as a true threat of
violence, knowingly transmitted in interstate and foreign commerce a communication
containing a threat to injure and kill another person, to wit, any person who works at or is
associated with Maricopa County Elections, by stating the following in a message to
Maricopa County Elections on Instagram via direct messaging: “You fuckers are so dead.”

In violation of Title 18, United States Code, Section 875(c).:

United States of America v. Brian Jerry Ogstad
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COUNTS
18 U.S.C. § 875(c)
(INTERSTATE THREAT)

On or about August 4, 2022, in the District of Arizona and elsewhere, the defendant
BRIAN JERRY OGSTAD, with the intent to communicate a true threat of violence and
with recklessness as to whether the communication would be viewed as a true threat of
violence, knowingly transmitted in interstate and foreign commerce a communication
containing a threat to injure and kill another person, to wit, any person who works at or is
associated with Maricopa County Elections, by stating the following in a message to
Maricopa County Elections on Instagram via direct messaging: “[Y]ou people are so
ducking [sic] stupid. Everyone knows you are lots [sic], cheats, frauds and in doing so in
relation to elections have committed treason. You will all be executed. Bang fuckers!”

In violation of Title 18, United States Code, Section 875(c).

A TRUE BILL

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s/

FOREPERSON OF THE GRAND JURY
Date: February 21, 2024

GARY M. RESTAINO
United States Attorney
District of Arizona

s/
MARY SUE FELDMEIER

Assistant U.S. Attorney
District of Arizona

s/

TANYA SENANAYAKE
Trial Attorney, Counterterrorism Section
National Security Division, U.S. Department of Justice

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